
69 N.Y.2d 1014 (1987)
The People of the State of New York, Appellant,
v.
Danny Robinson, Also Known as Brunce Smith, Respondent.
Court of Appeals of the State of New York.
Decided June 2, 1987.
On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), appeal *1015 dismissed upon the ground that the reversal by the Appellate Division was not "on the law alone or upon the law and such facts which, but for the determination of law, would not have led to reversal" (CPL 450.90 [2] [a]). The reversal, while termed "on the law", was necessarily a determination by the Appellate Division of a mixed question of law and fact.
